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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)

                                                                Hearing Date: October 4, 2023 at 1:00 p.m. ET
                                                                Obj. Deadline: September 27, 2023 at 4:00 p.m. ET



            SECOND JOINT MOTION OF THE DEBTORS AND THE OFFICIAL
              COMMITTEE OF UNSECURED CREDITORS FOR AN ORDER
              AUTHORIZING THE MOVANTS TO REDACT OR WITHHOLD
              CERTAIN CONFIDENTIAL INFORMATION OF CUSTOMERS

                  FTX Trading Ltd. and its affiliated debtors and debtors-in-possession (collectively,

the “Debtors”) and the Official Committee of Unsecured Creditors appointed in the above-

captioned cases (the “Committee” and, together with the Debtors, the “Movants”) hereby jointly

submit this motion (this “Motion”) for entry of an order, substantially in the form attached hereto

as Exhibit A (the “Order”), pursuant to sections 105(a) and 107 of title 11 of the United States

Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”) and rule 9018 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), authorizing each of the Movants to redact the

names, addresses and e-mail addresses of all of the Debtors’ customers from any filings with the

Court or made publicly available in these Chapter 11 Cases (as defined below) for an additional

90 days. In support of the Motion, the Movants respectfully state as follows:




1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.


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                                     Preliminary Statement

                  1.   The Court has previously determined that the Debtors’ customer lists hold

value for the estates. Accordingly, the Court has on two prior occasions allowed the Debtors and

the Movants, as applicable, to redact all customer names and associated identifying information

from public filings in these Chapter 11 Cases in order to maintain confidentiality over such lists

and preserve their value. The process being conducted by the Debtors with the support of the

Committee to sell, reorganize, or otherwise monetize the exchanges for the benefit of creditors is

ongoing. Interest has been strong, but whether the ongoing progress is ultimately successful

depends in large part on preserving the confidentiality of the Debtors’ customer lists so that they

are available as an asset to be transferred to a buyer for value. As a result, the Movants seek a

further extension for a period of 90 days, after which they hope to have a clearer view as to the

future of the Debtors’ customer lists.

                  2.   The Debtors’ primary goal in these Chapter 11 Cases has always been and

continues to be to maximize value for their customers and other creditors. As the Court is aware,

the Debtors, the Committee, the Ad Hoc Committee of Non-U.S. Customers of FTX.com, and

other stakeholders continue to discuss the terms of a plan of reorganization, which contemplates

scenarios for realizing value for the exchanges and customer lists. As the Debtors’ investment

banker has testified—and will further testify at any hearing on this Motion—the immediate release

of the Debtors’ institutional customer names would be value-destructive and harm the ongoing

efforts to monetize the Debtors’ exchange assets.

                  3.   At this stage, the Debtors should be afforded the opportunity to complete

their process and determine if the customer lists can be monetized as part of the resolution of the

exchanges. Thus, a further extension of the order permitting the redaction of all customer names,




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addresses and e-mail addresses for an additional 90 days is appropriate pursuant to section 107(b)

of the Bankruptcy Code.

                                          Background

                  4.   On November 11 and November 14, 2022 (as applicable, the “Petition

Date”), the Debtors filed with the United States Bankruptcy Court for the District of Delaware (the

“Court”) voluntary petitions for relief under the Bankruptcy Code. The Debtors continue to

operate their businesses and manage their properties as debtors-in-possession pursuant to

sections 1107(a) and 1108 of the Bankruptcy Code. Joint administration of the Debtors’ cases (the

“Chapter 11 Cases”) was authorized by the Court by entry of an order on November 22, 2022 [D.I.

128]. On December 15, 2022, the Office of the United States Trustee for the District of Delaware

(the “U.S. Trustee”) appointed the Committee pursuant to section 1102 of the Bankruptcy Code

[D.I. 231].

                  5.   Additional factual background relating to the Debtors’ businesses and the

commencement of these Chapter 11 Cases is set forth in the Declaration of John J. Ray III in

Support of Chapter 11 Petitions and First Day Pleadings [D.I. 24], the Declaration of Edgar W.

Mosley II in Support of Chapter 11 Petitions and First Day Pleadings [D.I. 57], the Supplemental

Declaration of John J. Ray III in Support of First Day Pleadings [D.I. 92] and the Supplemental

Declaration of Edgar W. Mosley II in Support of First Day Pleadings [D.I. 93].

                             Facts Specific to the Relief Requested

                  6.   On November 19, 2022, the Debtors filed the Motion of Debtors for Entry

of Interim and Final Orders (I) Authorizing the Debtors to Maintain a Consolidated List of

Creditors in Lieu of Submitting a Separate Matrix for Each Debtor, (II) Authorizing the Debtors




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to Redact or Withhold Certain Confidential Information of Customers and Personal Information

of Individuals and (III) Granting Certain Related Relief [D.I. 45] (the “Original Motion”). 2

                  7.     On November 23, 2022, the Court granted the Original Motion on an

interim basis and entered the Interim Order (I) Authorizing the Debtors to Maintain a

Consolidated List of Creditors in Lieu of Submitting a Separate Matrix for Each Debtor,

(II) Authorizing the Debtors to Redact or Withhold Certain Confidential Information of Customers

and Personal Information of Individuals on an Interim Basis and (III) Granting Certain Related

Relief [D.I. 157].

                  8.     Objections to the Original Motion being granted on a final basis were

interposed by the U.S. Trustee [D.I. 200, 362] and a group of media outlets [D.I. 195] (the “Media

Intervenors”).

                  9.     The Committee filed a joinder in support of the Debtors’ Original Motion

being granted on a final basis [D.I. 408].

                  10.    The Court held a hearing on the Original Motion on January 11, 2023 (the

“January 11 Hearing”). At the January 11 Hearing, the Court granted the Original Motion on a

final basis and, on January 20, 2023, entered the Final Order (I) Authorizing the Debtors to

Maintain a Consolidated List of Creditors in Lieu of Submitting a Separate Matrix for Each

Debtor, (II) Authorizing the Debtors to Redact or Withhold Certain Confidential Information of

Customers and Personal Information of Individuals on a Final Basis and (III) Granting Certain

Related Relief [D.I. 545] (the “Original Order”).




2
    Capitalized terms not otherwise defined herein shall be given the meanings ascribed to them in the Original
    Motion.



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                  11.   The Original Order authorized the Debtors, among other things, to redact

from all public filings: (a) addresses and e-mail addresses of their creditors and equity holders

who are natural persons on a permanent basis; (b) names, addresses and e-mail addresses of their

customers, including those customers who are not natural persons, until the “Redaction Deadline,”

which as defined therein, was April 20, 2023; and (c) names, addresses and e-mail addresses of

any creditors or equity holders who are natural persons and who are protected by the GDPR until

the Redaction Deadline. (Original Order ¶¶ 4-6.)

                  12.   The Original Order was entered with an express reservation of rights of the

Debtors, the Committee and all other parties-in-interest to seek an extension of the Redaction

Deadline, or to request authorization to redact any personal information of customers, creditors or

equity holders on any other grounds. (Id. ¶ 7.)

                  13.   On April 20, 2023, the Debtors filed the Joint Motion of the Debtors and

the Official Committee of Unsecured Creditors for an Order Authorizing the Movants to Redact

or Withhold Certain Confidential Information of Customers and Personal Information of

Individuals [D.I. 1324] (the “First Extension Motion”).

                  14.   On May 2, 2023, the Media Intervenors filed an objection to the First

Extension Motion [D.I. 1406]. On May 9, 2023, the U.S. Trustee also filed an objection to the

First Extension Motion [D.I. 1467].

                  15.   The Court held an evidentiary hearing on the First Extension Motion on

June 8, 2023 and June 9, 2023 (collectively, the “June Hearing”). At the June Hearing, Kevin

Cofsky, of Perella Weinberg Partners, testified before the Court that the Debtors’ customer lists

are of value to the Debtors’ business and that disclosure of these lists would jeopardize the Debtors’

ability to maximize value. (June 8, 2023 Hr’g Tr. 143:7-8; 152:1-16.) Further, at the June Hearing,




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Jeremy A. Sheridan, an expert in cybercrime, testified to his belief that, were the names of the

Debtors’ customers who are natural persons to be released, these individuals would be targeted by

criminal schemes. (June 9, 2023 Hr’g Tr. 25:21 – 26:3.) At the June Hearing, the Court credited

Mr. Cofsky’s testimony and granted the First Extension Motion with respect to the Movants’

request to redact customer names pursuant to 107(b) of the Bankruptcy Code for an additional 90

days. The Court further granted the First Extension Motion with respect to the Movants’ request

to redact the customer names of individuals under 107(c) of the Bankruptcy Code on a permanent

basis. The Court denied the First Extension Motion with respect to the request to redact creditor

and equity holder names under the GDPR and/or other local data privacy laws. (Id. Hr’g Tr. 156:14

– 158:21.)

                  16.   On June 15, 2023, the Court entered the Order Authorizing the Movants to

Redact or Withhold Certain Confidential Information of Customers and Personal Information of

Individuals [D.I. 1643] (the “First Extension Order”). The First Extension Order authorized the

Movants, pursuant to section 107(c)(1) of the Bankruptcy Code, to permanently redact the names

of all customers who are natural persons from all filings with the Court or made publicly available

in these Chapter 11 Cases in which disclosure would indicate such person’s status as a customer.

(First Extension Order ¶ 4.) The First Extension Order also authorized the Movants to, pursuant

to 107(b)(1) of the Bankruptcy Code, redact the names, addresses and e-mail addresses of all of

the Debtors’ customers from all filings with the Court or made publicly available in these Chapter

11 Cases; provided, however, that the authorization to redact the names of all customers, and to

redact the names, addresses and e-mail addresses of customers who are not natural persons, was

only granted until the date that is 90 days from the date of entry of the First Extension Order (such




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date, the “Extended Redaction Deadline”). The Extended Redaction Deadline is set to expire on

September 13, 2023. 3 (Id. ¶ 2.)

                                                  Jurisdiction

                  17.     The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012. This matter is a core proceeding

pursuant to 28 U.S.C. § 157(b). Venue is proper in the Court pursuant to 28 U.S.C. §§ 1408 and

1409. The statutory predicates for the relief requested herein are sections 105 and 107 of the

Bankruptcy Code and Bankruptcy Rule 9018. Pursuant to Local Rule 9013-1(f), the Movants each

consent to the entry of a final order or judgment by the Court in connection with this Motion to

the extent it is later determined that the Court, absent consent of the parties, cannot enter final

orders or judgments consistent with Article III of the United States Constitution.

                                               Relief Requested

                  18.     By this Motion, the Movants request entry of the Order, substantially in the

form attached hereto as Exhibit A, authorizing each of the Movants to redact the names, addresses

and e-mail addresses of all of the Debtors’ customers from any filings with the Court or made

publicly available in these Chapter 11 Cases for an additional 90 days; provided that the Debtors

and the Committee, as applicable, will provide the U.S. Trustee and counsel to the Committee or

the Debtors, as applicable, as well as certain other governmental parties, copies of unredacted

filings upon request and any other party copies of unredacted filings upon order of the Court.




3
    Pursuant to Local Rule 9006-2, the filing of this Motion prior to the expiration of the Redaction Deadline shall
    automatically extend the Redaction Deadline until the Court acts on this Motion without the necessity for entry
    of a bridge order.



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                                            Basis for Relief

I.         Cause Exists to Further Extend the Extended Redaction Deadline for an Additional
           90 Days Pursuant to Section 107(b)(1) of the Bankruptcy Code.

                    19.   Section 107(b)(1) of the Bankruptcy Code requires bankruptcy courts, at the

  request of a party-in-interest, to “protect an entity with respect to a trade secret or confidential

  research, development, or commercial information.” 11 U.S.C. § 107(b)(1).                Pursuant to

  Bankruptcy Rule 9018, upon motion, “the court may make any order which justice requires . . . to

  protect the estate or any entity in respect of a trade secret or other confidential research,

  development, or commercial information.” Fed. R. Bankr. P. 9018.

                    20.   The Debtors argued in connection with the Original Motion that their

  customer lists are a potentially significant source of value for their estates. (Original Mot. ¶ 12.)

  At the January 11 Hearing, Mr. Cofsky testified that as part of the Debtors’ ongoing strategic

  review, his view is that there is value in the Debtors’ customer lists, and that whether the exchanges

  are sold or reorganized, value is maximized by ensuring that competitors are not able to solicit

  customers and prematurely move them to other platforms. (Jan. 11, 2023 Hr’g Tr. 25:4-26:15.)

 Mr. Cofsky went on to testify that his view is that third parties will place significant value on the

 Debtors’ customer lists in a sale process, and that maintaining the identity of the customers without

 disclosure will give buyers confidence that what they are buying is actually of value. (Id. at 30:21-

 31:5.) The same reasoning applies to a reorganized debtor entity, which would retain more value

 if the Debtors’ customers have not been poached and are not transacting on another exchange. (Id.

 at 31:6-11.)

                    21.   The Court agreed. In granting the Original Motion on a final basis, the

 Court stated that “I think it goes without saying that a customer list in any bankruptcy case is




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something that is protected by 107(b) as a trade secret. Companies hold those things very closely

and don’t want them disclosed.” (Id. at 103:1-5.)

                  22.   The Debtors then argued in connection with the First Motion Extension that

the customer lists remain an important asset of the Debtors’ estate and a potential source of value.

At the June Hearing, Mr. Cofsky again testified that the lists of customer names is “extraordinarily

valuable,” both in the context of a reorganization and of a sale. (June 8, 2023 Hr’g Tr. 142:13-

19.) Mr. Cofsky further testified that, even if the Debtors are unable to reorganize or sell their

businesses, the customer lists themselves are likely to be of value to third parties—and therefore a

critical source of potential recovery for the Debtors’ customers and other creditors. (Id. at 143:7-

144:15.) Mr. Cofsky also testified that the Debtors are still considering whether the Debtors will

ultimately reorganize or sell their businesses, and that the Debtors continue to engage in

discussions with third parties regarding potential paths forward. (Id. at 146:5-11.) If disclosure

of the Debtors’ customer lists were to occur at this stage, Mr. Cofsky testified that this process

would be negatively impacted, potentially significantly. (Id. at 147:8-9.)

                  23.   The Court again agreed. In granting the First Extension Motion with respect

to the Movants’ redaction request pursuant to section 107(b), the Court stated:

         I think the evidence presented was uncontroverted that customer identification has
         value. It has value to the Debtors’ estates. And under 107(b), the customer names
         constitute a trade secret… And as a result, those names can continue to be redacted
         for an additional 90 days while the Debtors continue to seek how they’re going to
         come out of these bankruptcies; if they’re going to sell the assets, including the
         customer lists, or if they’re going to reorganize, in which case, they’re going to
         want the customer lists.

(June 9, 2023 Hr’g Tr. 156:16-25.)

                  24.   As Mr. Cofsky will confirm at any hearing on this Motion, the Debtors

continue to require more time to maximize the value of these assets, and thus continued protection




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pursuant to section 107(b) is necessary and appropriate. The Debtors are still engaged in

discussions with third parties regarding the sale of or other transaction involving the exchanges

and/or customer lists. As the Court acknowledged, the customer lists should remain confidential

under these circumstances. This process is not yet complete, and the path forward is not yet

determined. However, the record is clear that disclosure of the customer lists now would be

premature and value-destructive. (June 8, 2023 Hr’g Tr. 2023 146:5-12.) This relief is critical

notwithstanding the relief granted in the First Extension Order pursuant to section 107(c) because

that relief does not cover the Debtors’ institutional customers.

                  25.   Accordingly, the Movants request at this time a further extension of the

Extended Redaction Deadline for another 90 days from the date of entry of an order with respect

to all customer names, addresses and e-mail addresses to preserve the value of the Debtors’

customer lists.

                                              Notice

                  26.   Notice of this Motion has been provided to: (a) the U.S. Trustee; (b) the

Securities and Exchange Commission; (c) the Internal Revenue Service; (d) the United States

Department of Justice; (e) the United States Attorney for the District of Delaware; and (f) to the

extent not listed herein, those parties requesting notice pursuant to Bankruptcy Rule 2002. The

Movants submit that, in light of the nature of the relief requested, no other or further notice need

be provided.




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                                             Conclusion

                  WHEREFORE, for the reasons set forth herein, the Movants respectfully request

that the Court (a) enter the Order, substantially in the form attached hereto as Exhibit A, and

(b) grant such other and further relief as is just and proper.


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